     Case 1:19-cv-11438-PBS Document 130 Filed 07/02/20 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



NUANCE COMMUNICATIONS, INC.,

               Plaintiff and Counterclaim
               Defendant,
                                                 Case No. 1:19-cv-11438-PBS
       v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

               Defendant and Counterclaim
               Plaintiff.



                   DECLARATION OF DANIEL S. STERNBERG

       I, Daniel S. Sternberg, declare:

       1.      I am an active member of the bar of the State of Massachusetts and am

admitted to practice before the United States District Court for the District of

Massachusetts. I am an associate with White & Case LLP, attorneys of record for Omilia

Natural Language Solutions, Ltd. (“Omilia”) in this action. I have personal knowledge of

the facts stated in this declaration and if called as a witness, I could and would

competently testify about them.

       2.      Attached as Exhibit A is a true and correct copy of the Patent Assignment

Cover Sheet, executed on December 14, 2016, which Nuance Communications, Inc.

(“Nuance”) produced in this litigation with the production number

NUANCE0000000417–NUANCE0000000486.




                                                1
     Case 1:19-cv-11438-PBS Document 130 Filed 07/02/20 Page 2 of 3



       3.     Attached as Exhibit B is a true and correct copy of the Utility Patent

Application Transmittal, excerpted from the ’993 patent file history, which Nuance

produced in this litigation with the production number NUANCE0000000001.

       4.     Attached as Exhibit C is a true and correct copy of the July 2, 2012

Application, excerpted from the ’993 patent file history, which Nuance produced in this

litigation with the production number NUANCE0000000014–NUANCE0000000047.

       5.     Attached as Exhibit D is a true and correct copy of the November 5, 2012

Office Action, excerpted from the ’993 patent file history, which Nuance produced in this

litigation with the production number NUANCE0000000052–NUANCE0000000065.

       6.     Attached as Exhibit E is a true and correct copy of the February 5, 2013

Amendment, excerpted from the ’993 patent file history, which Nuance produced in this

litigation with the production number NUANCE0000000066–NUANCE0000000073.

       7.     Attached as Exhibit F is a true and correct copy of the May 13, 2013

Notice of Allowance, excerpted from the ’993 patent file history, which Nuance produced

in this litigation with the production number NUANCE0000000082–

NUANCE0000000101.

       8.     Attached as Exhibit G is a true and correct copy of Nuance’s Answer and

Counterclaims in Synkloud Techs., LLC v. Nuance Comm’cns, Inc., No. 1:20-cv-10564-

PBS, ECF No. 11.

       9.     I declare under penalty of perjury that the foregoing is true and correct.


Executed on July 2, 2020                             /s/ Daniel S. Sternberg
                                                     Daniel S. Sternberg




                                            2
     Case 1:19-cv-11438-PBS Document 130 Filed 07/02/20 Page 3 of 3



                            CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to

electronic service are being served on July 2, 2020, with a copy of this document via the

Court’s CM/ECF system per Local Rule CV-5.4 (c).

                                                    /s/ Daniel S. Sternberg
                                                    Daniel S. Sternberg




                                            3
